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FILED
UNITED STATES DISTRICT COURT FOR THE .
SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON JAN | 6 2005

UNITED STATES OF AMERICA

v. CRIMINAL NO. 2 97.5 YL [2

18 U.S.C. § 1349

JESSE MARKS

INFORMATION

The United States Attorney Charges:

The Scheme to Defraud

i. Beginning no later than November 27, 2019, and continuing
through on or about December 1, 2023, defendant JESSE MARKS, together
with another person known to the United States Attorney (the other
known person), did knowingly devise and intend to devise a scheme to
obtain money and property from the Boone County Board of Education
(BCBE), by means of materially false and fraudulent pretenses and
representations.

Ls It was a purpose and object of the scheme for defendant
JESSE MARKS to enrich himself and the other known person by embezzling
and misappropriating funds from the BCBE, in that defendant JESSE
MARKS together with the other known person, would submit false and
fraudulent invoices to the BCBE for payment and the other known person
would receive the payment from the BCBE as the payee listed on the

invoice.

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3. The other known person entered into an agreement with
defendant JESSE MARKS to submit false and fraudulent invoices in the
name of RUSH ENTERPRISES (RUSH), a company wholly owned by defendant
JESSE MARKS.

Background

At all times relevant to the indictment:

4, The BCBE was a corporation and political subdivision of the
state of West Virginia that supervises and controls the Boone County
School District. The BCBE is in Madison, Boone County, West Virginia,
within the Southern District of West Virginia.

5. The Boone County School District—is responsible for
providing public education to more than 3,000 children in Boone
County, West Virginia.

6. The other known person was employed as the Maintenance
Director for the Boone County School District.

7. RUSH was a company that was contracted to provide custodial
and janitorial supplies to the Boone County School District. RUSH was
wholly owned by defendant JESSE MARKS.

Manner and Means for Carrying Out the Scheme

8. The manner and means by which defendant JESSE MARKS and the
other known person carried out the scheme to defraud the BCBE include

the following:
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9. In or about November of 2019, the other known person
contacted defendant JESSE MARKS regarding RUSH supplying the Boone
County schools (the schools) with custodial and janitorial supplies.

10. The other known person was the sole person to communicate
with defendant JESSE MARKS about RUSH becoming a supplier for the
schools.

11. Defendant JESSE MARKS and the other known person agreed
that RUSH would supply the schools with custodial and janitorial
supplies and the other known person would complete the paperwork
regarding the invoicing and billing of the supplies.

12. Defendant JESSE MARKS and the other known person agreed
that the other known person would create invoices on behalf of RUSH
(the invoices) that would be submitted to the BCBE for payment for
the delivery of supplies listed on those invoices.

13. Defendant JESSE MARKS and the other known person agreed
that the invoices that were sent to the BCBE would include supplies
that were never delivered by RUSH or any other person or company on
behalf of RUSH.

14. Defendant JESSE MARKS and the other known person were able
to accomplish this scheme due to the other known person’s position as
Maintenance Director, as the other known person was responsible for
verifying that the products and supplies listed on the invoices were
delivered. The other known person would sign the invoices indicating

that all of the products and supplies listed on the invoices were
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delivered to the schools, when in fact, the number of products and
supplies listed on the invoice far exceeded the actual number of
products and supplies delivered by RUSH to the schools. The other
known person would then cause the invoices to be submitted to the
BCBE central office to be processed for payment.

15. The invoices submitted by the other known person would
direct that payment be sent to RUSH in Kentucky. The other known
person’s approval and submission of the invoices would cause the BCBE
central office to send a check through the United States Mail System
to RUSH, in Kentucky for the amount listed on the invoice.

16. Defendant JESSE MARKS would receive the checks made out to
RUSH, and deposit those checks into defendant JESSE MARKS’ business
account.

17. Defendant JESSE MARKS and the other known person
entered into an

agreement where defendant JESSE MARKS would deduct his expenses
for the number of products and supplies that were actually delivered
to the schools and then the additional amount paid by BCBE for
supplies that were never received would be split between the defendant
JESSE MARKS and the other known person.

18. After depositing the check from BCBE, defendant
JESSE MARKS would withdraw cash and give the other known person
his share of the overpayment in person in the form of cash payments

in manila envelopes.
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The Conspiracy

19. From on or about March 30, 2020, through on or about
December 1, 2023, at or near Madison, Boone County, West Virginia,
and within the Southern District of West Virginia, and elsewhere,
defendant JESSE MARKS and the other known person, did knowingly
conspire together to commit the offense of mail fraud, in violation
of 18 U.S.C. § 1341.

In violation of Title 18, United States Code, Section 1349.
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NOTICE OF FORFEITURE

The allegations contained in this Information are hereby
realleged and incorporated by reference for the purpose of alleging
forfeiture pursuant to 18 U.S.C. § 981(a) (1) (C) and 28 U.S.C. § 2461.

Pursuant to 18 U.S.C. § 981(a) (1) (C), 28 U.S.C. § 2461 and Rule
32.2 of the Federal Rules of Criminal Procedure, upon conviction of
the offenses in violation of 18 U.S.C. §§ 1341 and 1349, as set forth
in this Information, defendant JESSE MARKS shall forfeit to the
United States of America, any property constituting, or derived from,
proceeds obtained, directly or indirectly, as a result of such
violation(s).
The property to be forfeited includes, but is not limited to,
a money judgment in the amount of at least $1,000,000.00, such amount
constituting the proceeds of violations set forth in this Information.
Tf any of the property described above, as a result of any act
or omission of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a
third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot

be divided without difficulty,
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the United States of America shall be entitled to forfeiture of
substitute property pursuant to 21 U.S.C. § 853(p), as incorporated
by 18 U.S.C. § 981(a) (1) (C) and 28 U.S.C. § 2461.

All pursuant to Title 18, United States Code, Sections

981(a) (1) (C) and Title 28, United States Code, Section 2461.

UNITED STATES OF AMERICA

WILLIAM S. THOMPSON
United States Attorney

By: Zoot

GABRIEL C. PRICE
Assistant United States Attorney

